     Exhibit 1
 (Redacted Version)




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                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           Case No. 20-CV-954




    FARHAD AZIMA,                        )
                                         )
                    Plaintiff,           )
                                         )
          vs.                            )
                                         )
    NICHOLAS DEL ROSSO and VITAL         )
    MANAGEMENT SERVICES, INC.,           )
                                         )
                    Defendants.          )




                    DEPOSITION OF NICHOLAS DEL ROSSO

                                  VOLUME II

                    (Contains confidential testimony)



     ____________________________________________________________

                                  8:06 A.M.

                      TUESDAY, FEBRUARY 14, 2023
      ____________________________________________________________




    By:   Denise Myers Byrd, CSR 8340, RPR




                                                                      215


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     NICHOLAS DEL ROSSO           CONFIDENTIAL               February 14, 2023
                                   VOLUME II



1              at it -- I certainly haven't looked at it
2              recently.
3       BY ATTORNEY BEHRE:
4       Q.
5

6

7       A.
8       Q.
9

10      A.
11      Q.
12

13      A.
14      Q.
15      A.
16      Q.
17      A.
18      Q.
19

20

21      A.
22

23      Q.
24      A.
25      Q.
                                                                       282

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 1                          ATTORNEY NEUMAN:      I'm going to object
 2             on the basis that the reports and any work
 3             product of NTi would be protected by the
 4             attorney-client privilege given Dechert's
 5             reputation of RAK and the fact that
 6             Mr. Del Rosso and his company were
 7             subcontractors of Dechert.
 8                          Instructing you not to disclose any of
 9             the contents of any analysis or reports.
10      BY ATTORNEY BEHRE:
11      Q.
12      A.
13      Q.
14      A.
15

16

17

18      Q.
19      A.
20

21

22      Q.
23

24      A.
25

                                                                       283

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1                                COURT REPORTER'S CERTIFICATE
2

3                   I, DENISE MYERS BYRD, Court Reporter, CSR 8340,
4         the officer before whom the foregoing deposition of
5         NICHOLAS DEL ROSSO was conducted, do hereby certify that the
6         witness's testimony was taken down by me in stenotype to
7         the best of my ability and thereafter transcribed under my
8         supervision; and that the foregoing pages, inclusive,
9         constitute a true and accurate transcription of the
10        testimony of the witness.
11                  Before completion of the deposition, review of the
12        transcript [X] was [ ] was not requested.           If requested, any
13        changes made by the deponent (and provided to the reporter)
14        during the period allowed are appended hereto.
15                  I further certify that I am neither counsel for,
16        related to, nor employed by any of the parties to this
17        action, and further, that I am not a relative or employee of
18        any attorney or counsel employed by the parties thereof, nor
19        financially or otherwise interested in the outcome of said
20        action.    Signed this 16th day of February 2023.
21

22
                                            Denise Myers Byrd
23                                          CSR 8340, RPR
24

25




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